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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
CENTRAL ISLIP DIVISION
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In re:                                                              Case No. 8-18-72034-las
                                                                    Chapter 13
Robert M. George,
              Debtor.                                               HON. Louis A. Scarcella
                                                                    Hearing Date: 06/14/2018 at 9:30 AM
                                                                    Related Doc. 5
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        OBJECTION TO CONFIRMATION OF DEBTOR’S CHAPTER 13 PLAN
THE BANK OF NEW YORK MELLON, AS TRUSTEE FOR CIT MORTGAGE LOAN
TRUST 2007-1 ("Secured Creditor”), by and through its undersigned counsel, objects to
confirmation of Debtor’s Chapter 13 Plan (DE #5), and states as follows:
    1. Debtor, Robert M. George (“Debtor”), filed a voluntary petition pursuant to Chapter 13 of
        the Bankruptcy Code on March 27, 2018.
    2. Secured Creditor holds a security interest in the Debtor’s real property located at 574
        SMITHTOWN AVENUE, BOHEMIA, NY 11716, by virtue of a Mortgage recorded on
        October 19, 2006 in Book M00021404, at Page 081 of the Public Records of Suffolk
        County, NY. Said Mortgage secures a Note in the amount of $325,000.00.
    3. The Debtor filed a Chapter 13 Plan on March 27, 2018.
    4. Debtor’s Plan evidences an intent to seek mortgage modification with Secured Creditor
        but fails to provide and amount for adequate protection payments. Thus far, loan
        modification has not been offered or approved. Secured Creditor finds that $3,257.94
        would be sufficient in order to adequately protect its property interest. Therefore, Secured
        Creditor objects to any adequate protection payment below $3,257.94, during the
        pendency of loss mitigation.
    5. In order to be confirmable under 11 USC 1325(a)(5)(B)(i) the Plan must state the total
        amount of the debt and that the lien on the real property of the Debtor will remain in


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   place until such time as the total debt is satisfied. The Plan proposes a total debt of
   $480,000.00. However, according to Secured Creditor’s timely-filed Proof of Claim, the
   correct total debt amount is $483,058.53. Secured Creditor objects to any plan that
   acknowledges anything less than $483,058.53 as the total debt of its claim.
6. Debtor is obligated to fund a Plan which is feasible to cure the arrears due to the objecting
   creditor within a reasonable time pursuant to 11 U.S.C § 1322(b)(5). According to
   Secured Creditor’s timely-filed Proof of Claim, the total pre-petition arrears owed is
   $170,353.89. Therefore, in the event that any loss mitigation efforts are not successful,
   the plan fails to satisfy the confirmation requirements of 11 U.S.C § 1325(a)(1).


WHEREFORE, Secured Creditor respectfully requests this Court sustain the objections
stated herein and deny confirmation of Debtor’s Plan, and for such other and further relief as
the Court may deem just and proper.


                                          RAS Crane, LLC
                                          Attorney for Secured Creditor
                                          10700 Abbott's Bridge Road, Suite 170
                                          Duluth, GA 30097
                                          Telephone: 470-321-7112
                                          Facsimile: 404-393-1425

                                          By: /s/Barbara Whipple
                                          Barbara Whipple, Esquire
                                          Email: bwhipple@rasflaw.com




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                               CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that on June 4, 2018, I electronically filed the foregoing with
the Clerk of Court by using the CM/ECF system, and a true and correct copy has been served via
CM/ECF or United States Mail to the following parties:
PETER COREY
RICHARD L. STERN, PC
2950 EXPRESS DRIVE SOUTH
SUITE 109
ISLANDIA, NY 11749

ROBERT M. GEORGE
574 SMITHTOWN AVENUE
BOHEMIA, NY 11716

MARIANNE DEROSA
STANDING CHAPTER 13 TRUSTEE
125 JERICHO TPKE
SUITE 105
JERICHO, NY 11753

UNITED STATES TRUSTEE
LONG ISLAND FEDERAL COURTHOUSE
560 FEDERAL PLAZA - ROOM 560
CENTRAL ISLIP, NY 11722-4437
                             RAS Crane, LLC
                             Attorney for Secured Creditor
                             10700 Abbott's Bridge Road, Suite 170
                             Duluth, GA 30097
                             Telephone: 470-321-7112
                             Facsimile: 404-393-1425

                                           By: /s/Barbara Whipple
                                           Barbara Whipple, Esquire
                                           Email: bwhipple@rasflaw.com




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